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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
In re:

RON VIDOR                                                             CASE NO. 20-12751-MAM
                                                                      CHAPTER 13
                  Debtor.
_______________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Financial Services Vehicle Trust (“Movant”) seeks, pursuant to 11 U.S.C. §362(d), relief

from the automatic stay and states:

         1.     On November 9, 2019, Debtor executed a Lease Transfer Agreement that

transferred the Lease Agreement dated December 19, 2017 with regard to the following personal

property: 2018 BMW 7 Series Sedan 4D 740I; VIN: WBA7E2C56JG741973 (“Vehicle”).

         2.     As indicated on the Title, Movant is the lienholder on the title to the Vehicle. True

and correct copies of the Lease, Lease Transfer Agreement and Title are attached hereto as

Composite Exhibit “A.”

         3.     The Vehicle is not included as exempt on Schedule C.

         4.     The Lease matured on December 19, 2019. As of May 8, 2020, the total

indebtedness was $47,991.46. A copy of the Affidavit in Support of Motion for Relief is attached

hereto as Composite Exhibit “A.”

         5.     According to the N.A.D.A., the value of the Vehicle is $40,950.00. A copy of the

N.A.D.A. record is attached hereto as Composite Exhibit “A.”

         6.     According to the Chapter 13 Plan (Doc. No. 10), Debtor intends to assume the

Lease; however, the Lease has matured and the Debtor did not exercise the purchase option at

maturity.
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       7.      Accordingly, the Vehicle is not necessary for an effective reorganization.

       8.      Furthermore, Movant is not receiving payments to protect against the erosion of its

interest in the Vehicle.

       9.      If Movant is not permitted to enforce the Lease, it will suffer irreparable injury,

loss, and damage.

       WHEREFORE, Movant, respectfully requests the Court enter an order:

               a.      terminating the automatic stay;

               b.      permitting Movant to take any and all steps necessary to exercise any and

all rights it may have in the Vehicle described herein; and

               c.      granting such other relief that the Court may deem just and proper.

                                                   /s/ Gavin N. Stewart
                                                   Gavin N. Stewart, Esquire
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                                                   E:bk@stewartlegalgroup.com
                                                   Counsel for Movant

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 12th day of June 2020.

                                                   /s/ Gavin N. Stewart
                                                   Gavin N. Stewart, Esquire
VIA FIRST CLASS MAIL
Ron Vigdor
3900 NE 6th Drive
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VIA CM/ECF NOTICE
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